      Case 23-10190-mdc                     Doc 11 Filed 01/25/23 Entered 01/26/23 00:34:43                                              Desc Imaged
                                                 Certificate of Notice Page 1 of 4
                                                              United States Bankruptcy Court
                                                              Eastern District of Pennsylvania
In re:                                                                                                                 Case No. 23-10190-mdc
Randi Barroso                                                                                                          Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0313-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jan 23, 2023                                               Form ID: 309A                                                             Total Noticed: 22
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 25, 2023:
Recip ID                   Recipient Name and Address
db                         Randi Barroso, 242 Yankee Road, Lot 345, Quakertown, PA 18951
14750571               +   AMERICAN HERITAGE F.C.U., 280 N. WEST END BLVD., QUAKERTOWN, PA 18951-2347
14750586                   H.A. Berkheimer Tax Administrator, Bankruptcy Notices, 50 North 7th Street, Bangor, PA 18013-1798
14750580               +   Innovis Data Solutions, 250 E. Broad St., Columbus, OH 43215-3708
14750581               +   Innovis Data Solutions, Inc., 221 Bolivar Street, Jefferson City MO 65101-1572
14750575                   PPL ELECTRIC UTILITY, 827 HAUSMAN RD., ALLENTOWN , PA 18104-9392
14750584               +   TransUnion Corporation, 1510 Chester Pike, Crum Lynne, PA 19022-1471

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: mwglaw@msn.com
                                                                                        Jan 24 2023 00:20:00      MICHAEL W. GALLAGHER, M.W. Gallagher
                                                                                                                  Esquire, 600 West Germantown Pike, Suite 400,
                                                                                                                  Plymouth Meeting, PA 19462
tr                         EDI: BTPDERSHAW.COM
                                                                                        Jan 24 2023 11:37:00      TERRY P. DERSHAW, Dershaw Law Offices,
                                                                                                                  P.O. Box 556, Warminster, PA 18974-0632
smg                        Email/Text: megan.harper@phila.gov
                                                                                        Jan 24 2023 00:20:00      City of Philadelphia, City of Philadelphia Law
                                                                                                                  Dept., Tax Unit/Bankruptcy Dept, 1515 Arch
                                                                                                                  Street 15th Floor, Philadelphia, PA 19102-1595
smg                        EDI: PENNDEPTREV
                                                                                        Jan 24 2023 11:34:00      Pennsylvania Department of Revenue, Bankruptcy
                                                                                                                  Division, P.O. Box 280946, Harrisburg, PA
                                                                                                                  17128-0946
smg                        Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                                        Jan 24 2023 00:20:00      Pennsylvania Department of Revenue, Bankruptcy
                                                                                                                  Division, P.O. Box 280946, Harrisburg, PA
                                                                                                                  17128-0946
ust                    + Email/Text: ustpregion03.ph.ecf@usdoj.gov
                                                                                        Jan 24 2023 00:20:00      United States Trustee, Office of United States
                                                                                                                  Trustee, Robert N.C. Nix Federal Building, 900
                                                                                                                  Market Street, Suite 320, Philadelphia, PA
                                                                                                                  19107-4202
14750572               + Email/Text: enotifications@santanderconsumerusa.com
                                                                                        Jan 24 2023 00:20:00      CHRYSLER CAPITAL, P.O. BOX 660335,
                                                                                                                  DALLAS, TX 75266-0335
14750573               + Email/Text: payroll@exactsciences.com
                                                                                        Jan 24 2023 00:20:00      EXACT SCIENCES LABORATORIES, 145 E.
                                                                                                                  BADGER ROAD, MADISON, WI 53713-2723
14750577               ^ MEBN
                                                                                        Jan 24 2023 00:19:13      Equifax Credit Information Services, Inc, P.O.
                                                                                                                  Box 740256, Atlanta, GA 30374-0256
14750578               ^ MEBN
                                                                                        Jan 24 2023 00:19:08      Experian, P.O. Box 9701, Allen, TX 75013-9701
14750579               ^ MEBN
                                                                                        Jan 24 2023 00:19:10      Experian Information Systems, Attn: Dispute
                                                                                                                  Department, P.O. Box 2002, Allen, TX
                                                                                                                  75013-2002
14750582                   EDI: IRS.COM
      Case 23-10190-mdc                   Doc 11 Filed 01/25/23 Entered 01/26/23 00:34:43                                        Desc Imaged
                                               Certificate of Notice Page 2 of 4
District/off: 0313-2                                              User: admin                                                             Page 2 of 2
Date Rcvd: Jan 23, 2023                                           Form ID: 309A                                                         Total Noticed: 22
                                                                                   Jan 24 2023 11:40:00     Internal Revenue Service, Centralized Insolvency
                                                                                                            Operation, P.O. Box 7346, Philadelphia, PA
                                                                                                            19101-7346
14750583                 EDI: PENNDEPTREV
                                                                                   Jan 24 2023 11:34:00     PA Department Of Revenue, Attn: Bankruptcy
                                                                                                            Division, P.O. Box 280946, Harrisburg, PA
                                                                                                            17128-0946
14750583                 Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                                   Jan 24 2023 00:20:00     PA Department Of Revenue, Attn: Bankruptcy
                                                                                                            Division, P.O. Box 280946, Harrisburg, PA
                                                                                                            17128-0946
14750574              + Email/Text: bncnotifications@pheaa.org
                                                                                   Jan 24 2023 00:20:00     PA HIGHER EDUCATION ASSISTANCE
                                                                                                            AGENCY, 1200 NORTH 7TH STREET,
                                                                                                            HARRISBURG, PA 17102-1444
14750585              ^ MEBN
                                                                                   Jan 24 2023 00:19:07     TransUnion Consumer Solutions, P.O. Box 2000,
                                                                                                            Chester PA 19016-2000
14750576              + Email/Text: Bankruptcy@wsfsbank.com
                                                                                   Jan 24 2023 00:20:00     WILMINGTON SAVINGS FUND SOCIETY,
                                                                                                            500 DELAWARE AVENUE, WILMINGTON,
                                                                                                            DE 19801-1490

TOTAL: 17


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 25, 2023                                        Signature:           /s/Gustava Winters
     Case 23-10190-mdc                           Doc 11 Filed 01/25/23 Entered 01/26/23 00:34:43                                         Desc Imaged
                                                      Certificate of Notice Page 3 of 4
Information to identify the case:

Debtor 1:
                      Randi Barroso                                              Social Security number or ITIN:   xxx−xx−5451
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                        Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Eastern District of Pennsylvania          Date case filed for chapter:        7     1/22/23

Case number:           23−10190−mdc

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                               10/20
**Debtor's Photo ID & Social Security Card Must Be Presented at 341 Hearing**

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     Randi Barroso

2.        All other names used in the aka Randi Denise Leibowitz−Barroso
          last 8 years

3.      Address                                  242 Yankee Road
                                                 Lot 345
                                                 Quakertown, PA 18951

4.      Debtor's attorney                        MICHAEL W. GALLAGHER                                 Contact phone 484−679−1488
                                                 M.W. Gallagher Esquire
        Name and address                         600 West Germantown Pike                             Email: mwglaw@msn.com
                                                 Suite 400
                                                 Plymouth Meeting, PA 19462

5.      Bankruptcy trustee                       TERRY P. DERSHAW                                     Contact phone (484) 897−0341
                                                 Dershaw Law Offices
        Name and address                         P.O. Box 556                                         Email: td@ix.netcom.com
                                                 Warminster, PA 18974−0632
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
   Case 23-10190-mdc                             Doc 11 Filed 01/25/23 Entered 01/26/23 00:34:43                                                  Desc Imaged
                                                      Certificate of Notice Page 4 of 4
Debtor Randi Barroso                                                                                                 Case number 23−10190−mdc


6. Bankruptcy clerk's office                    900 Market Street                                             Hours open:
                                                Suite 400                                                     Philadelphia Office −− 9:00 A.M. to
    Documents in this case may be filed at this Philadelphia, PA 19107                                        4:00 P.M; Reading Office −− 9:00
    address. You may inspect all records filed                                                                A.M. to 4:00 P.M.
    in this case at this office or online at
    https://pacer.uscourts.gov.
                                                                                                              Contact phone (215)408−2800

                                                                                                              Date: 1/23/23


7. Meeting of creditors                           March 22, 2023 at 09:00 AM                                  Location: Section 341 Meeting will
                                                                                                              be conducted by telephone.
    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              Please consult the docket or
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            contact the trustee appointed to
    both spouses must attend. Creditors may                                                                   the case for access or call−in
    attend, but are not required to do so.        docket.
                                                                                                              information.

8. Presumption of abuse                           Insufficient information has been filed to date to permit the clerk to make any
                                                  determination concerning the presumption of abuse. If more complete information,
    If the presumption of abuse arises, you       when filed, shows that the presumption has arisen, creditors will be notified.
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 5/22/23
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  https://pacer.uscourts.gov . If you believe that the law does not authorize an exemption
                                                  that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                  receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2
